           Case 2:07-cr-00571-GEB Document 325 Filed 10/28/11 Page 1 of 3


1    BENJAMIN WAGNER
     United States Attorney
2    PHILIP A. FERRARI
     Assistant U.S. Attorney
3    501 I Street, Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2744
5
6
7
8                      IN THE UNITED STATES DISTRICT COURT
9                     FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11   UNITED STATES OF AMERICA,     )           CR. No. S 07-571 GEB
                                   )
12                  Plaintiff,     )           STIPULATION AND ORDER
                                   )
13             v.                  )
                                   )
14   ERIC BROOKS,                  )
                                   )           Date: December 16, 2011
15                  Defendant.     )           Time: 9:00 a.m.
     ______________________________)           Hon. Garland E. Burrell, Jr.
16
17
          It is hereby stipulated by and between the United States of
18
     America through its attorneys, and defendant Eric Brooks and his
19
     attorney, that the status conference hearing set for October 28,
20
     2011, be vacated, and a status conference hearing be set for
21
     December 16, 2011 at 9:00 a.m.
22
          Mr. Brooks is also a defendant in case no. CR S 08-122 GEB.          He
23
     has entered a guilty plea in that case and the parties are
24
     requesting that sentencing be set for December 16, 2011.          Pursuant
25
     to the plea agreement entered in case 08-0122 GEB, the government
26
     anticipates dismissing the charges against Mr. Brooks in case 07-571
27
     at sentencing.   However, that cannot occur until Mr. Brooks has
28
     finished completing his obligations under the plea agreement.          The

                                         -1-
              Case 2:07-cr-00571-GEB Document 325 Filed 10/28/11 Page 2 of 3


1    parties stipulate that the ends of justice are served by the Court
2    excluding the time between October 28, 2011, and December 16, 2011,
3    so that the defendant may continue to fulfill his obligations under
4    the plea agreement in case 08-0122, which will likely result in the
5    dismissal of the pending charges in this case.            18 U.S.C.
6    §3161(h)(1) (other proceedings concerning the defendant) / Local
7    Code C (other charges pending).
8
     DATED: October 26, 2011               /s/ Philip Ferrari for
9                                         MICHAEL HANSEN, ESQ.
                                          Attny. for Eric Brooks
10
     DATED: October 26, 2011              BENJAMIN WAGNER
11                                        United States Attorney
12
                                     By: /s/ Philip Ferrari
13                                       PHILIP A. FERRARI
14                                       Assistant U.S. Attorney

15        IT IS ORDERED that the status conference currently set for

16   October 28, 2011, is vacated, and a new status conference is set for

17   December 16, 2011, at 9:00 a.m.         For the reasons stipulated to by

18   the parties, good cause exists pursuant to 18 U.S.C. §§ 3161(h), and
19   time is excluded under the Speedy Trial Act through October 28,
20   2011.     For the reasons set forth in the stipulation, the interests
21   of justice served by granting this continuance outweigh the best
22   interests of the public and the defendants in a speedy trial.
23        IT IS SO ORDERED.
24
     Dated:     October 27, 2011
25
26
                                        GARLAND E. BURRELL, JR.
27                                      United States District Judge
28


                                            -2-
     Case 2:07-cr-00571-GEB Document 325 Filed 10/28/11 Page 3 of 3


1
2
3
4
5
6
7
8
9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28


                                   -3-
